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                              EXHIBIT “D”
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 7
                         UNITED STATES DISTRICT COURT
 8
                       SOUTHERN DISTRICT OF CALIFORNIA
 9
10 FRANKIE GREER,                            CASE NO. 19-cv-00378-GPC-DEB

11                Plaintiff,                 PLAINTIFF FRANKIE GREER’S
12                                           SPECIAL INTERROGATORIES TO
     v.                                      DEFENDANT WILLIAM GORE
13                                           (SET ONE)
14 COUNTY OF SAN DIEGO et al.,
15
                 Defendants.
16
17
18
19   PROPOUNDING PARTY:               PLAINTIFF FRANKIE GREER
20   RESPONDING PARTY:                DEFENDANT WILLIAM GORE
21   SET NUMBER:                      ONE
22                             PRELIMINARY STATEMENT
23         Pursuant to Federal Rule at Civil Procedure, Rule 33, Plaintiff Frankie Greer
24   requests that Defendant William Gore (“Gore”), serve a written response on all
25   parties within thirty (30) days after service of these interrogatories. Each
26   interrogatory must, to the extent it is not objected to, be answered separately and
27   fully in writing under oath. If objected to, the grounds for objecting to an
28   interrogatory must be stated with specificity. Any ground not stated in a timely
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 1   objection is waived unless the court, for good cause, excuses the failure. If an
 2   objection is made to part of an interrogatory, the part shall be specified and the
 3   responding party will answer the remaining parts.
 4                                     DEFINITIONS
 5      1. The term COUNTY OF SAN DIEGO (“COUNTY”) refers to COUNTY’s
 6   current and former employees, officers, agents, directors, executives,
 7   administrators, partners, members, advisors, predecessors, successors, assignees,
 8   contractors and any entity or entities owned or controlled, in whole or in part, by
 9   Defendant COUNTY.
10      2. The terms “YOU” and “YOUR” refer to Defendant Sheriff William Gore.
11      3. The term “ENTITY” or “ENTITIES” includes, but is not limited to, any
12   agency, association, business, bureau, charity, club, collective, committee,
13   company, corporation, department, government, institute, institution, general or
14   limited partnership, limited liability company, non-profit, office, organization or
15   unit.
16      4. The term “PERSON” or “PERSONS” shall mean and include all natural
17   persons, corporations, partnerships, limited liability companies, organizations,
18   associations and any other kind of business or legal entity.
19      5. The term "REGARDING," "RELATING TO," "RELATE TO," or
20   “REFLECTING” shall mean mentioning, describing, evidencing, regarding,
21   concerning, depicting or referring to in any way, directly or indirectly.
22      6. The term “INCIDENT” shall refer to the facts as alleged in the Second
23   Amended Complaint (ECF no. 59) [“SAC”] causing the injuries and harm suffered
24   by Frankie Greer as described in the SAC.
25      7. The use of the singular form of any word includes the plural and vice versa.
26      8. The connectives “and” and “or” shall mean “and/or,” and shall be construed
27   either disjunctively or conjunctively as necessary to bring within the scope of the
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 1   discovery request all documents or other information that might otherwise be
 2   construed outside of its scope.
 3       9. “IDENTIFY” when used to refer to a document or recording means that you
 4   should identify the document or recording with particularity, stating: (1) the
 5   identity of the person who signed it or under whose name it was sent or issued; (2)
 6   the date of the documents; and (3) the nature and substance of the document. In
 7   the alternative, to the extent that a document that is responsive to the Interrogatory
 8   has been or is being produced, you may specify the Bates number of such
 9   document.
10       10. “IDENTIFY” when used to refer to a PERSON or ENTITY means to state
11   the following: (1) the name of the person; (2) the last known address of that
12   person; and (3) the last known telephone number of that person.
13                                 INTERROGATORIES
14   INTERROGATORY NO. 1:
15         For the period of March 1, 2014 to March 1, 2018, please provide the
16   following information for each Critical Incident Review Board (CIRB) meeting
17   that YOU attended:
18         a. Date of the CIRB meeting; and
19         b. First and last name of the decedent/detainee/arrestee/suspect whose
20             interaction with Sheriff’s Department employees or agents led to the
21             incident that was the subject of the CIRB review.
22   INTERROGATORY NO. 2:
23         For the period of March 1, 2014 to March 1, 2018, did you recommend,
24   authorize, and/or approve the imposition of discipline for any Sheriff’s Department
25   employee, agent, or deputy involved in the CIRB incidences identified in response
26   to Interrogatory No. 1?
27   INTERROGATORY NO. 3:
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 1         If your answer to Interrogatory No. 2 is yes, please identify and describe
 2   each incident in which you recommended, authorized, and/or approved the
 3   imposition of discipline for a Sheriff’s Department employee or agent. For
 4   purposes of this interrogatory, “identify each incident” means stating the first and
 5   last name of the decedent/detainee/arrestee/suspect whose interaction with
 6   Sheriff’s Department employees or agents led to the incident that was the subject
 7   of CIRB’s review.
 8   INTERROGATORY NO. 4:
 9         For the period of March 1, 2014 to March 1, 2018, please describe
10   information from the Citizen’s Law Enforcement Review Board (CLERB) that
11   YOU received:
12         a. Identify each incident in which CLERB made a sustained finding that a
13            Sheriff’s Department deputy committed misconduct. “Identify” in this
14            interrogatory means to provide the first and last name of the
15            decedent/detainee/arrestee/suspect/CLERB complainant whose
16            interaction with Sheriff’s Department sworn staff led to the incident that
17            was the subject of CLERB’s investigation.
18         b. Identify each incident in which CLERB recommended the imposition of
19            discipline for any deputy. “Identify” in this interrogatory means to
20            provide the first and last name of the
21            decedent/detainee/arrestee/suspect/CLERB complainant whose
22            interaction with Sheriff’s Department sworn staff led to the incident that
23            was the subject of CLERB’s investigation.
24         c. Identify each incident in which CLERB recommended a policy change.
25            “Identify” in this interrogatory means to provide the first and last name of
26            the decedent/detainee/arrestee/suspect/CLERB complainant whose
27            interaction with Sheriff’s Department sworn staff led to the incident that
28            was the subject of CLERB’s investigation.

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 1   INTERROGATORY NO. 5:
 2         For the period of March 1, 2014 to March 1, 2018, identify each incident in
 3   which YOU adopted CLERB’s recommendation for the imposition of discipline
 4   for a deputy. “Identify” in this interrogatory means to provide the first and last
 5   name of the decedent/detainee/arrestee/suspect/CLERB complainant whose
 6   interaction with Sheriff’s Department sworn staff led to the incident that was the
 7   subject of CLERB’s investigation.
 8   INTERROGATORY NO. 6:
 9         For the period of March 1, 2014 to March 1, 2018, identify each incident in
10   which YOU adopted CLERB’s recommendation for a policy change. “Identify” in
11   this interrogatory means to provide the first and last name of the
12   decedent/detainee/arrestee/suspect/CLERB complainant whose interaction with
13   Sheriff’s Department sworn staff led to the incident that was the subject of
14   CLERB’s investigation.
15   INTERROGATORY NO. 7:
16         Do you meet with other Sheriff’s Department officials to be briefed on
17   issues related to the provision of medical care to inmates detained in County jails?
18   INTERROGATORY NO. 8:
19         If your answer to Interrogatory No. 7 is yes, please provide the following:
20         a. The name of these meetings or briefings.
21         b. The frequency of these meetings or briefings (e.g., weekly, monthly,
22             quarterly, annually)
23         c. The first and last name, as well as title and division (e.g. Detentions,
24             Medical Services, Internal Affairs) of each person who attends these
25             meeting and briefing.
26         d. Whether notes, memoranda, meeting minutes, or other reports are
27             generated and maintained reflecting the discussions at these meetings.
28   INTERROGATORY NO. 9:

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 1         Please review the County of San Diego’s response to Special Interrogatory
 2   No. 19, which is attached hereto as Exhibit A. For the time period of January 31,
 3   2018 to February 1, 2018, do you agree that sworn staff (i.e., correctional deputies)
 4   could access and view the following medical instructions regarding Frankie Greer:
 5   seizure disorder; lower bunk; no SBDF; no Facility 8; no EMRF.
 6   INTERROGATORY NO. 10:
 7         If your response to Interrogatory No. 9 is yes, please describe what you did,
 8   if anything, to inform CLERB that sworn staff (i.e., correctional deputies) could
 9   access and view the lower bunk and seizure disorder medical instructions for
10   Frankie Greer.
11   INTERROGATORY NO. 11:
12         If your response to Interrogatory No. 9 is yes, please describe what you did,
13   if anything, to correct or amend the representation made by Sheriff’s Department
14   employees to CLERB that (1) medical staff failed to place the lower bunk order in
15   the Jail Information Management System (JIMS) and that (2) deputies had no
16   knowledge of Mr. Greer’s need for a lower bunk.
17   INTERROGATORY NO. 12:
18         If your response to Interrogatory No. 9 is yes, please describe what you did,
19   if anything, to facilitate another CLERB investigation, or the re-opening of
20   CLERB’s investigation, of the deputies who knew or should have known that Mr.
21   Greer needed a lower bunk.
22   INTERROGATORY NO. 13:
23         If your response to Interrogatory No. 9 is yes, please describe what you did,
24   if anything, to investigate whether deputy Francisco Bravo or deputy Christopher
25   Simms violated Sheriff’s Department policy by failing to place Mr. Greer on a
26   lower bunk when they knew, or should have known, of the lower bunk order.
27   INTERROGATORY NO. 14:
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 1         For the time period of March 1, 2013 to March 1, 2018, what was the total
 2   number of Sheriff’s Department employed medical personnel, working at the Jails,
 3   whom you caused to be disciplined, sanctioned, and/or reprimanded?
 4   INTERROGATORY NO. 15:
 5         For each incident of discipline that is part of your response to interrogatory
 6   no. 14, please describe the facts of the underlying incident that led to the
 7   imposition of discipline.
 8   INTERROGATORY NO. 16:
 9         For each of YOUR responses to Plaintiff’s Requests for Admission (Set
10   One), served herewith, if YOUR response is not an unqualified admission, state all
11   facts upon which YOU base YOUR response; please IDENTIFY all PERSONS
12   who have knowledge of those facts; and IDENTIFY all documents, recordings, or
13   other tangible things that support YOUR response.
14
15    DATED November 17, 2021                    IREDALE AND YOO, APC
16
17
18                                               EUGENE IREDALE
                                                 JULIA YOO
19                                               GRACE JUN
20                                               Attorneys for Plaintiff Frankie Greer
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         EXHIBIT A
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 1 Frankie Greer v. County of San Diego, et al.
     Case No. 3:19-CV-0378-GPC AGS
 2
 3                                  PROOF OF SERVICE
 4        At the time of service, I was over 18 years of age and not a party to this action.

 5 My business address is 8100 La Mesa Blvd., Suite 200, La Mesa, California, 91942.
 6        On September 22, 2021, I served the following document(s): COUNTY OF SAN
 7 DIEGO’S RESPONSE TO PLAINTIFF’S SPECIAL INTERROGATORIES, SET
 8 TWO, in the following manner:
 9           By CM/ECF: I caused to be transmitted a copy of the foregoing document(s)
10           this date via the United States District Court’s ECF System, which
             electronically notifies all counsel.
11           By e-mail or electronic transmission. I caused all of the pages of the above-
12           entitled documents to be electronically served on designated recipients.
13 Eugene Iredale, Esq.                             Jeffrey S. Doggett, Esq.
     Julia Yoo, Esq.                                Brian T. Bloodworth, Esq.
14   Grace Jun, Esq.                                LOTZ, DOGGETT & RAWERS, LLP
     IREDALE & YOO                                  101 W. Broadway, Suite 1110
15   105 West F Street, Fourth Floor                San Diego, CA 91901
     San Diego, CA 92101-6036                       Telephone: (619) 233-5565
16   Telephone: (619) 233-1525                      Facsimile:
     Facsimile: (619) 233-3221                      Email: jdoggett@ldrlaw.com
17   Email: egiredale@iredalelaw.com                Email: bbloodworth@ldrlaw.com
     Email: jyoo@iredalelaw.com
18   Email: gjun@iredalelaw.com                     Attorneys for Maurcio Martinez and
                                                    Coast Correctional Medical Group
19 Attorney for Plaintiff, Frankie Greer
20
21        I declare under penalty of perjury under the laws of the State of California that the
22 above is true and correct and that this proof of service was executed on September 22,
23 2021, in La Mesa, California.
24
25                                              _____________________________
                                                      Amy Blake
26
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                                        PROOF OF SERVICE
